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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                Eastern Division

Susan Phillips, et al.
                                       Plaintiff,
v.                                                        Case No.: 1:22−cv−01048
                                                          Honorable Andrea R. Wood
The United States of America
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 24, 2023:


        MINUTE entry before the Honorable Andrea R. Wood: Defendant's unopposed
motion to stay [24] is granted. The Court temporarily stays this case pending resolution of
the closely related criminal matter. By 4/17/2023, the parties shall file a joint status report
updating the Court on the status of the related criminal matter and whether any party
desires a modification or lifting of the stay. The status report shall also state whether any
party desires a status hearing and, if so, what matters they would like to discuss with the
Court. Mailed notice (lma, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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